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 4
 5   Attorney for Defendant, PHIM KHAMPHALA
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 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                     )        CASE NUMBER: 1:07-cr-00268-OWW
                                                   )
11                         Plaintiff,              )
                                                   )        STIPULATION AND ORDER FOR A
12   v.                                            )        RESETTING OF HEARING ON REPORT
                                                   )        OF PROBATION OFFICER
13   PHIM KHAMPHALA, et al.,                       )
                                                   )
14                         Defendants.             )
                                                   )
15
16           IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and the
17   defendant by and through his attorney, that the date set for hearing on the presentence report of the
18   probation officer and sentencing be extended as follows:
19                  Defense Counsel’s Informal Objections due to Probation and AUSA:
                    move from April 27, 2009 to June 8, 2009.
20
21                  Formal Objections must be filed with the Court and served on
                    Probation and AUSA: move from May 11, 2009 to June 22, 2009.
22
23                  RPO Hearing: move from May 18, 2009 at 9:00 a.m. to June 29, 2009
                    at 9:00 a.m.
24
25           The reason for moving the hearing is because defense counsel needs additional time to gather
26   medical records which will be used at sentencing.
27   ///
28   ///
           Case 1:07-cr-00268-AWI Document 225 Filed 05/19/09 Page 2 of 2


 1   ///
 2   ///
 3                                               Respectfully submitted,
 4
 5   DATED: May 14, 2009                         /s/ Salvatore Sciandra
                                                 SALVATORE SCIANDRA
 6                                               Attorney for Defendant,
                                                 PHIM KHAMPHALA
 7
 8
 9   DATED: May 14, 2009                         /s/ Laurel Montoya
                                                 LAUREL MONTOYA
10                                               Assistant United States Attorney
11
12                                          ORDER
13           IT IS SO ORDERED.
14   Dated: May 18, 2009                       /s/ Oliver W. Wanger
     emm0d6                               UNITED STATES DISTRICT JUDGE
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